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                         UNITED STATES DISTRICT COURT
 1
                                   FOR THE
 2                       WESTERN DISTRICT OF NEW YORK
 3
     GEOFFREY SULESKI,                     )
 4                                         )         Case No.:
           Plaintiff,                      )
 5                                         )         COMPLAINT AND DEMAND
 6
           v.                              )         FOR JURY TRIAL
                                           )
 7   GENERAL MOTORS                        )
     FINANCIAL                             )
 8
     COMPANY, INC.                         )
 9   d/b/a GM FINANCIAL,                   )
                                           )
10
           Defendant.                      )
11
     ____________________________________)

12
                                      COMPLAINT
13

14         GEOFFREY SULESKI (“Plaintiff”), by and through his attorneys,
15   KIMMEL & SILVERMAN, P.C., alleges the following against GENERAL
16
     MOTORS        FINANCIAL       COMPANY,          INC.   d/b/a   GM   FINANCIAL
17

18
     (“Defendant”):

19
                                     INTRODUCTION
20

21         1.      Plaintiff’s Complaint is based on the Telephone Consumer Protection
22
     Act, 47 U.S.C. § 227, et seq. (“TCPA”).
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24

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                                   PLAINTIFF’S COMPLAINT
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                              JURISDICTION AND VENUE
 1

 2         2.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, which grants
 3
     this court original jurisdiction of all civil actions arising under the laws of the
 4
     United States. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181
 5

 6
     L. Ed. 2d 881 (2012).

 7         3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 8

 9
                                       PARTIES
10

11         4.      Plaintiff is a natural person, who resides in Delevan, New York

12   14042.
13
           5.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
14
           6.      Defendant is a corporation with its headquarters located 801 Cherry
15

16   Street, Ste. 3500, Fort Worth, Texas 76102.
17         7.      Defendant is a “person” as that term is defined by 47 U.S.C. §
18
     153(39).
19
           8.      Defendant acted through its agents, employees, officers, members,
20

21   directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
22
     representatives, and insurers.
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                                      PLAINTIFF’S COMPLAINT
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                                      FACTUAL ALLEGATIONS
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 2            9.      Plaintiff has a cellular telephone number that he has had for at least
 3
     one year.
 4
              10.     Plaintiff has only used this number as a cellular telephone number.
 5

 6
              11.     Beginning in or around June 2015, Defendant called Plaintiff on his

 7   cellular telephone on a repetitive and continuous basis.
 8
              12.     During the relevant period, Defendant called Plaintiff on his cellular
 9
     telephone multiple times per day.
10

11            13.     When contacting Plaintiff on his cellular telephone, Defendant used

12   an automatic telephone dialing system and automated and/or pre-recorded
13
     messages.
14
              14.     Plaintiff often would answer a call to be greeted with an automated
15

16   recording before speaking to callers or receive voice messages from an automated
17   voice.
18
              15.     Defendant’s telephone calls were not made for “emergency
19
     purposes” since Defendant has been calling Plaintiff regarding the balance on his
20

21   auto loan.
22
              16.     Shortly after the calls began in the summer 2015, Plaintiff spoke
23
     with Defendant and requested that the calls stop immediately.
24

25
              17.     Defendant heard and acknowledged Plaintiff’s request by hanging up


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                                       PLAINTIFF’S COMPLAINT
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     when he repeatedly told Defendant to cease calling.
 1

 2         18.    Despite Plaintiff’s clear revocation of consent to call his cellular
 3
     phone, Defendant persisted in calling Plaintiff multiple times each day on his
 4
     cellular telephone through June 2016.
 5

 6
           19.    After Plaintiff’s repeated requests to stop the calls were ignored by

 7   Defendant, he had no other option but to install a blocking application to block
 8
     calls from Defendant’s phone numbers.
 9

10

11                       DEFENDANT VIOLATED THE
                   TELEPHONE CONSUMER PROTECTION ACT
12

13
           20.    Plaintiff incorporates the forgoing paragraphs as though the same

14   were set forth at length herein.
15
           21.    Defendant initiated multiple automated telephone calls to Plaintiff’s
16
     cellular telephone using a prerecorded voice.
17

18         22.    Defendant initiated these automated calls to Plaintiff using an

19   automatic telephone dialing system.
20
           23.    Defendant’s calls to Plaintiff were not made for emergency purposes.
21
           24.    Defendant’s calls to Plaintiff were not made with Plaintiff’s prior
22

23   express consent as he revoked consent during the summer of 2015.

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                                    PLAINTIFF’S COMPLAINT
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           25.    Defendant’s acts as described above were done with malicious,
 1

 2   intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
 3
     under the law and with the purpose of harassing Plaintiff.
 4
           26.    The acts and/or omissions of Defendant were done unfairly,
 5

 6
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,

 7   lawful right, legal defense, legal justification or legal excuse.
 8
           27.    As a result of the above violations of the TCPA, Plaintiff has suffered
 9
     the losses and damages as set forth above entitling Plaintiff to an award of
10

11   statutory, actual and trebles damages.

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13
           WHEREFORE, Plaintiff, GEOFFREY SULESKI, respectfully prays for a
14
     judgment as follows:
15

16                a.     All   actual   damages      suffered   pursuant   to   47   U.S.C.
17                       §227(b)(3)(A);
18
                  b.     Statutory damages of $500.00 per violative telephone call
19
                         pursuant to 47 U.S.C. §227(b)(3)(B);
20

21                c.     Treble damages of $1,500 per violative telephone call pursuant
22
                         to 47 U.S.C. §227(b)(3);
23
                  d.     Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
24

25
                  e.     Any other relief deemed appropriate by this Honorable Court.


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                                     PLAINTIFF’S COMPLAINT
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                                  DEMAND FOR JURY TRIAL
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 2          PLEASE TAKE NOTICE that Plaintiff, GEOFFREY SULESKI, demands
 3
     a jury trial in this case.
 4
                                            Respectfully submitted;
 5

 6
       DATED: June 24, 2016                 By: /s/ Craig Thor Kimmel
 7                                              Craig Thor Kimmel
                                                Kimmel & Silverman, P.C.
 8
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 9                                              Buffalo, NY 14209
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11                                              Email: kimmel@creditlaw.com

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                                     PLAINTIFF’S COMPLAINT
